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               [ORAL ARGUMENT NOT SCHEDULED]

                              No. 23-5067


           IN THE UNITED STATES COURT OF APPEALS
            FOR THE DISTRICT OF COLUMBIA CIRCUIT


       MEDICAL IMAGING & TECHNOLOGY ALLIANCE, et al.,
                              Plaintiffs-Appellants,

                                  v.

                     LIBRARY OF CONGRESS, et al.,
                                   Defendants-Appellees.


            On Appeal from the United States District Court
                      for the District of Columbia
            (No. 1:22-cv-00499, Honorable Beryl A. Howell)


                        BRIEF FOR APPELLEES

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  CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES

      Pursuant to D.C. Circuit Rule 28(a)(1), I certify as follows:

      A.    Parties and Amici

      Plaintiffs in district court, and appellants here, are Medical Imaging

& Technology Alliance and Advanced Medical Technology Association.

Defendants in the district court, and appellees here, are the Library of

Congress and Carla Hayden, in her official capacity as Librarian of

Congress. The National Association of Manufacturers, the Washington

Legal Foundation, and the Americans for Prosperity Foundation are amici

curiae before this Court.

      B.    Rulings Under Review

      The ruling under review is the opinion and order entered on March

7, 2023. See Medical Imaging & Tech. All. v. Library of Cong., No. 1:22-cv-

00499, 2023 WL 2387760 (D.D.C. Mar. 7, 2023) (Howell, Chief J.) [JA033].

      C.    Related Cases

      The case on review has not previously been before this Court or any

other, save the district court from which it originated. The undersigned

counsel is unaware of any related cases currently pending in any court.

                                            /s/ Laura E. Myron
                                            Laure E. Myron
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                              GLOSSARY

APA                         Administrative Procedure Act

FOIA                        Freedom of Information Act

Librarian                   The Librarian of Congress

Library                     The Library of Congress
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                     STATEMENT OF JURISDICTION

      Plaintiffs invoked the district court’s jurisdiction under 28 U.S.C.

§ 1331. JA012. On March 7, 2023, the district court entered its order

granting the government’s motion to dismiss and denying plaintiffs’

motion for summary judgment. See JA033-35. Plaintiffs filed a timely notice

of appeal on March 24, 2023. JA005; see Fed. R. App. P. 4(a)(1)(B). This

Court has jurisdiction under 28 U.S.C. § 1291.

                      STATEMENT OF THE ISSUES

      This case concerns a challenge brought under the Administrative

Procedure Act (APA) to a rulemaking conducted by the Librarian of

Congress to establish an exception to the anti-circumvention provisions of

the Digital Millennium Copyright Act of 1998. The APA provides judicial

review of final actions taken by an agency, which it defines to exclude “the

Congress.” 5 U.S.C. § 701(b)(1)(A). The questions presented are:

      (1) whether the district court correctly applied this Court’s

precedents holding that the Library of Congress is not an agency subject to

the APA; and

      (2) whether the district court correctly held that the Librarian’s

application of the statutory fair use factors in the rulemaking was not in
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contravention of a clear and mandatory statutory prohibition such that

ultra vires review would be appropriate.

                        STATEMENT OF THE CASE

      A.    Statutory Background

      1. The Library of Congress and the APA

      The Library of Congress is the largest library in the world and the

main research arm of the U.S. Congress. See Library of Cong., About the

Library, https://perma.cc/2DQ3-A24C. This Court has characterized the

Library as “a congressional agency,” Keeffe v. Library of Cong., 777 F.2d 1573,

1574 (D.C. Cir. 1985), but has also recognized that the Library is an

executive department for constitutional purposes, Intercollegiate Broad. Sys.,

Inc. v. Copyright Royalty Bd., 684 F.3d 1332, 1341 (D.C. Cir. 2012). The

Library “performs a range of different functions, including some, such as

the Congressional Research Service, that are exercised primarily for

legislative purposes,” and others that are “generally associated in modern

times with executive agencies rather than legislators,” id. at 1341-42.

Particularly relevant here, the Library is home to the U.S. Copyright Office.

      As a statutory matter, the Library is codified within Title 2, which

governs the legislative branch, see, e.g., 2 U.S.C. § 131 et seq., and receives its

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appropriations as part of the legislative branch, see Pub. L. No. 117-328, at

456, 471-74 (2022). The Librarian of Congress is authorized to “make rules

and regulations for the government of the Library.” 2 U.S.C. § 136.

      The APA contains a waiver of sovereign immunity and a cause of

action against certain “agency action[s].” 5 U.S.C. § 702. For purposes of

the APA, Congress provided that the term “agency” means “each authority

of the Government of the United States, whether or not it is within or

subject to review by another agency,” but specified that the term “does not

include—(A) the Congress; [or] (B) the courts of the United States. “ Id.

§ 701(b)(1); see also id. § 551(1)(A)-(B).

      This Court has previously held that for purposes of this provision,

the Library of Congress is part of “the Congress” and thus is not subject to

the APA. See, e.g., Clark v. Library of Cong., 750 F.2d 89, 102 (D.C. Cir. 1984).

As discussed in more detail below, plaintiffs here urge that this Court’s

precedent in that regard should be limited to the particular types of actions

that were at issue in this Court’s prior cases, rather than being treated as a

categorical holding that the Library of Congress is not subject to the APA.




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      2. The Copyright Act and the Digital Millennium Copyright Act.

      The Copyright Act of 1976, 17 U.S.C. § 101 et seq., prohibits the

unauthorized reproduction of “original works of authorship fixed in any

tangible medium of expression,” id. § 102(a), including “computer

program[s],” see id. §§ 101, 102(a)(1), 109(b)(1)(A). The Copyright Act also

provides that “fair use of a copyrighted work, . . . for purposes such as

criticism, comment, news reporting, teaching . . ., scholarship, or research,

is not an infringement of copyright.” Id. § 107. Whether a use of

copyrighted material constitutes a fair use involves a case-by-case inquiry

in which courts must examine, at a minimum, four statutory factors: (1)

“the purpose and character of the use, including whether such use is of a

commercial nature or is for nonprofit educational purposes”; (2) “the

nature of the copyrighted work”; (3) “the amount and substantiality of the

portion used in relation to the copyrighted work as a whole”; and (4) “the

effect of the use upon the potential market for or value of the copyrighted

work.” Id.

      In 1998, Congress enacted the Digital Millennium Copyright Act in

order to address, inter alia, the “ease with which digital works can be

copied and distributed” and the concern that “copyright owners will
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hesitate to make their works readily available on the Internet without

reasonable assurance that they will be protected against massive piracy.”

See S. Rep. No. 105-190, at 8 (1998). See generally Green v. U.S. Dep’t of Justice,

54 F.4th 738 (D.C. Cir. 2022).

      To combat digital piracy, Congress prohibited, inter alia,

“circumvent[ing] a technological measure that effectively controls access to

a work protected under” the Copyright Act. 17 U.S.C. § 1201(a)(1)(A).

Congress both enacted specific exemptions to this prohibition and directed

the Librarian of Congress to determine, through triennial rulemaking

proceedings, any additional categories of copyrighted materials that

should be exempted from the anti-circumvention provision for the next

three-year period. See id.

      As part of the triennial rulemaking, the Librarian must determine

whether an exemption from the anti-circumvention provision is warranted

because the restriction adversely affects certain users’ ability to make

noninfringing uses. 17 U.S.C. § 1201(a)(1)(A), (C). The Librarian’s

determination is made “upon the recommendation of the Register of

Copyrights.” Id. § 1201(a)(1)(C). In order to grant an exemption, the

Librarian must conclude “(1) that uses affected by the prohibition on
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circumvention are or are likely to be noninfringing; and (2) that as a result

of [technological protection measures], the prohibition is causing, or in the

next three years is likely to cause, an adverse impact on those uses.” 86 Fed.

Reg. 59,627, 59,628 (Oct. 28, 2021) (codified at 37 C.F.R. § 201.40); see JA093.

      The Librarian has issued eight Final Rules pursuant to this

procedure, including exemptions for “computer programs that control

motorized land vehicles” and “computer programs that control

smartphones, home appliances, or home systems” for diagnosis,

maintenance, or repair, see 86 Fed. Reg. at 59,631; excerpts of audiovisual

works for criticism and comment, id. at 59,632; and literary works for use

with assistive technologies for disabled individuals, id. at 59,630.

      B.    Factual Background

      This case arises from the Librarian’s eighth triennial rulemaking. As

relevant here, two organizations petitioned the Librarian for an exemption

to allow circumvention of technological protection measures for the

purposes of diagnosing, maintaining, and repairing certain complex,

computer-controlled medical equipment. See JA179-81 (Summit Imaging,

Inc. Petition); JA182-85 (Transtate Equipment Company Petition). These

companies explained that there is a strong public health interest in

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“maintain[ing] and repair[ing] lifesaving equipment,” particularly in light

of the COVID-19 pandemic. JA180.

      In her recommendation to the Librarian, the Register of Copyrights

concluded that the “prohibition on circumvention of [technological

protection measures] is causing, or is likely to cause, an adverse impact on

the noninfringing diagnosis, repair, and maintenance of medical devices

and systems.” JA174. The Register of Copyrights considered the statutory

fair-use factors and concluded that the activities covered by the proposed

exemption would likely constitute a fair use and thus be noninfringing.

Specifically, the Register rejected opponents’ argument regarding

commercial use, noting that “[c]ommerciality is not fatal to a fair use

determination” and that here “the proposed activities are intended to

restore a medical device or system’s functionality, not to commercialize the

embedded copyrighted software and other servicing materials.” JA154. The

Register also explained that diagnosis and repair are likely to be considered

“transformative” uses, JA154, a term that refers to whether the use has “a

further purpose or different character” from the original, see Andy Warhol

Found. for the Visual Arts, Inc. v. Goldsmith, 143 S. Ct. 1258, 1275 (2023)

(citing Campbell v. Acuff-Rose Music, Inc., 510 U.S. 569, 579 (1994)). The
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Register found the other factors also favored fair use, specifically noting

that any uses in which a user reproduced or retained copies of the

copyrighted materials for use with other devices would continue to be

prohibited because they would be outside the exemption’s scope. JA157.1

      Finally, the Register explained that the anti-circumvention provision

was “adversely affect[ing],” 17 U.S.C. § 1201(a)(1)(A), the repair of medical

devices because it “makes medical equipment software and manuals less

available for use in noninfringing diagnosis, maintenance, and repair,”

JA171. In addition, the Register concluded that “the narrow proposed uses

and additional limitations on the scope of these activities limit any

potential market harm” that might arise from allowing users servicing

medical equipment to access the software. JA172.

      In the Final Rule, the Librarian adopted the recommendation of the

Register, see JA 092-101; JA105, exempting from the anti-circumvention




      1 Exemptions issued by the Librarian pursuant to Section 1201 only

apply to liability for circumvention of technological protection measures;
they do not exempt users from liability for copyright infringement. See 17
U.S.C. § 1201(a)(1)(D); id. § 1201(a)(1)(A). Although the Librarian’s fair use
analysis may be relevant, the conclusion reflects only that a particular use
is likely to be considered fair use. A court would not be bound by that
determination in a subsequent action for copyright infringement.
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provision “[c]omputer programs that are contained in and control the

functioning of a lawfully acquired medical device or system, and related

data files, when circumvention is a necessary step to allow the diagnosis,

maintenance, or repair of such a device or system,” 37 C.F.R.

§ 201.40(b)(15).

      C.    Prior Proceedings

      Plaintiffs—two trade associations that represent medical device

manufacturers—filed this suit in the United States District Court for the

District of Columbia. The complaint raised four claims challenging the

medical device repair exemption: (1) that the Librarian violated the APA

because the exemption is arbitrary and capricious, not in accordance with

the law, and in excess of statutory authority; (2) that the Librarian violated

the procedural requirements of the APA by failing to respond to critical

comments; (3) that, in the alternative, the Librarian’s issuance of the

exemption was beyond her statutory authority and thus ultra vires; and,

(4) that the Librarian had violated the constitutional separation of powers.

      The district court granted the government’s motion to dismiss the

complaint (and concurrently denied plaintiffs’ motion for summary

judgment). See JA033. The court reasoned that Congress exempted itself

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and the Library of Congress from APA review and thus “sovereign

immunity bars plaintiffs’ procedural and substantive APA claims.” JA050-

51; see also JA051-56. Next, the court found that plaintiffs’ ultra vires claims

fail because “the Librarian’s promulgation of the [e]xemption does not

amount to the type of extreme statutory error required to state a plausible

claim.” JA051; see also JA056-62. The court explained that plaintiffs’ ultra

vires arguments were merely their APA arguments “recycled,” which

“fall[] well short of pleading a plausible ultra vires claim.” JA059. Finally,

the court held that the Librarian’s rulemaking does not violate the

separation of powers, see JA051, explaining that Congress’s “decision to

categorize the Library as part of ‘the Congress’ . . . has no bearing on

whether the exercise of authority in [the] triennial rulemaking is either

legislative or executive in function,” and there is no constitutional problem

with the statute. JA065.

                        SUMMARY OF ARGUMENT

      1. Nearly 40 years ago, this Court recognized that “the Library of

Congress is not an ‘agency’ as defined under the Administrative Procedure

Act.” Clark v. Library of Cong., 750 F.2d 89, 102 (D.C. Cir. 1984) (citing 5

U.S.C. § 701(b)(1)(A)). This Court has repeated that principle in the ensuing
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years. See, e.g., Washington Legal Found. v. U.S. Sentencing Comm’n, 17 F.3d

1446, 1449 (D.C. Cir. 1994). The district court properly recognized that this

line of precedent forecloses plaintiffs’ APA claims.

      These cases did not depend on the type of function the Library was

carrying out in each particular case, instead holding categorically that the

Library is not an agency under the APA. This conclusion is consistent with

the text of the APA, which provides that the term “agency” does not

include “the Congress,” 5 U.S.C. §§ 551(1); 701(b)(1), rather than providing

for the possibility, posited by plaintiffs, that a single entity would be

treated as an agency for some purposes but not for others.

      The Library has neither acted nor been treated as an agency since the

APA’s inception. The Library has rulemaking authority “for the

government of the Library [of Congress],” 2 U.S.C. § 136, but this power

has never been thought to carry with it APA requirements or review. The

Library is also not an agency for purposes of the Federal Register Act.

When it does publish in the Federal Register, it does so pursuant to the

Federal Register Act’s catchall provision for documents authorized to be

published by National Archives and Record Administration regulations. 44

U.S.C. § 1505(b); see 1 C.F.R. § 5.3; see also 44 U.S.C. § 1501 (generally
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defining “document” as limited to materials produced by agencies “unless

the context otherwise requires”).

      Section 701(e) of the Copyright Act further indicates that Congress

does not regard the Library of Congress as an “agency” for purposes of the

APA. That later-enacted provision expressly subjects the Copyright Office,

a subsidiary of the Library, to the APA, and would have been superfluous

if the Library were already an agency. See 17 U.S.C. § 701(e).

      Plaintiffs do not advance their argument by pointing out that the

Library is part of the Executive Branch for constitutional purposes. The

APA’s definition of an agency has no bearing on the constitutional status of

any entity, as both this Court and the Fourth Circuit have recognized. See

Intercollegiate Broad. Sys., Inc. v. Copyright Royalty Bd., 684 F.3d 1332, 1341-42

(D.C. Cir. 2012); Eltra Corp. v. Ringer, 579 F.2d 294, 301 (4th Cir. 1978).

Plaintiffs cannot plausibly contend that the APA limits the exercise of

executive power only to those entities defined as an agency by the statute,

particularly as it is undisputed that the President is not an agency for APA

purposes. Because the statutory definition of an agency has no bearing on

the entity’s constitutional status, there is no basis to apply the canon of



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constitutional avoidance. For similar reasons, the presumption of judicial

review also does not advance plaintiffs’ claims.

      2. The district court correctly concluded that the Librarian’s actions

were not ultra vires. Plaintiffs’ ultra vires claims are merely an attempt to

recast their APA claims; they cannot come close to making the required

showing that the Librarian “plainly act[ed] outside the scope of her

delegated powers in promulgating the [e]xemption.” JA060 (first alteration

in original) (quotation marks omitted); see DCH Reg’l Med. Ctr. v. Azar, 925

F.3d 503, 509 (D.C. Cir. 2019). There is no dispute that the Librarian has the

authority to engage in rulemaking and that her determination to grant an

exemption should rest on a conclusion that the proposed exemption is

likely to constitute a non-infringing use of the copyrighted material.

Plaintiffs’ allegation is that the Librarian misapplied the fair use factors,

but, even if true, this allegation would not satisfy this Court’s standard for

an ultra vires claim. In any event, the Librarian’s fair analysis was not

erroneous. The Supreme Court has recognized that a commercial use may

be a fair use, see Google LLC v. Oracle Am., Inc., 141 S. Ct. 1183, 1204 (2021),

and here the uses—diagnosis, maintenance, and repair—are likely to be



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transformative because their purpose and character are distinct from the

purpose and character of the original.

                           STANDARD OF REVIEW

        This Court reviews de novo a district court decision granting a motion

to dismiss. See Western Org. of Res. Councils v. Zinke, 892 F.3d 1234, 1240

(D.C. Cir. 2018).

                                 ARGUMENT

   I.        The District Court Correctly Concluded That Sovereign
             Immunity Bars Plaintiffs’ APA Claims.

        A.     Both The Statute’s Plain Text And This Court’s
               Precedent Dictate That The Library Of Congress Is Not
               Subject To The APA.

        1. Nearly 40 years ago, this Court recognized that “the Library of

Congress is not an ‘agency’ as defined under the Administrative Procedure

Act.” Clark v. Library of Cong., 750 F.2d 89, 102 (D.C. Cir. 1984) (citing 5

U.S.C. § 701(b)(1)(A)). This Court has reiterated that principle in the

ensuing years. See Washington Legal Found. v. U.S. Sentencing Comm’n, 17

F.3d 1446, 1449 (D.C. Cir. 1994) (“Thus, we have held that the Library of

Congress (part of the legislative branch but a separate entity from ‘the

Congress,’ narrowly defined) is exempt from the APA because its

provisions do not apply to ‘the Congress’—that is, the legislative branch.”).
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This Court has held, in particular, that because “the Library [of Congress]

is not an agency under the Administrative Procedure Act,” a “district court

was . . . correct in granting summary judgment for the Library on the claim

under that act.” Ethnic Emps. of Library of Cong. v. Boorstin, 751 F.2d 1405,

1416 n.15 (D.C. Cir. 1985); see also Kissinger v. Reporters Comm. for Freedom of

the Press, 445 U.S. 136, 145 (1980) (noting that the district court in that case

“recognized” that the Freedom of Information Act (FOIA) did not apply to

records “in the custody of the Library of Congress, which is not an ‘agency’

under the Act”).

      As the district court properly recognized, these precedents foreclose

plaintiffs’ APA claims. The APA’s cause of action and waiver of sovereign

immunity apply only to claims challenging actions of an “agency or an

officer or employee thereof.” 5 U.S.C. § 702. Because this Court has already

held that the “the Library of Congress is not an ‘agency’ as defined under

the Administrative Procedure Act,” Clark, 750 F.2d at 102, plaintiffs’ APA

claims fail.

      Plaintiffs purport to recognize that a panel of this Court cannot

disregard past holdings of this Court and thus attempt to distinguish this

Court’s past cases on the ground that they considered only actions of the
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Library that were different from the rulemaking at issue here. See Br. 40.

But this Court did not say that particular actions of the Library did not

satisfy the APA’s separate definition of “agency action,” 5 U.S.C. § 551(13);

rather, it stated unequivocally (and repeatedly) that the Library is not an

agency under the APA at all.

      Plaintiffs also cannot reconcile their position with the statute’s text or

the logic of this Court’s decisions. This Court’s holdings were based on the

statute’s explicit statement that the APA’s definition of “agency” “does not

include[] . . . the Congress.” 5 U.S.C. §§ 551(1), 701(b)(1). This Court

concluded that for purposes of this provision, the Library of Congress is

part of “the Congress.” The Court’s analysis did not depend on what the

Library was doing in a particular case; rather, this Court recognized that

Congress “defined ‘agency’ in terms of the branch of government in which

the entity was (or was not) located” and did not “limit[] its exemption to

‘the courts[]’ or any other unit smaller than one of the three branches.”

Washington Legal Found., 17 F.3d at 1449. Thus, this Court has understood

“the Congress” as referenced in the APA “to mean the entire legislative

branch,” including the Library of Congress. Id. As noted above, that



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understanding resolves the question of the APA’s applicability to the

Library of Congress.

      2. This Court’s precedents align with the way the Library has acted

and has been treated since the APA’s inception. The Library of Congress

has never been thought of as an agency for APA purposes, and it does not

behave as one. By statute, the Librarian has been authorized by Congress

since 1897 to “make rules and regulations for the government of the

Library [of Congress].” 2 U.S.C. § 136; see also Act of Feb. 19, 1897, ch. 265,

29 Stat. 538, 544. Such rulemaking power has never been thought to carry

with it APA requirements or review. The Library does not adhere to the

procedural requirements of Section 553 of the APA when it engages in such

rulemaking, and that practice has never been questioned.

      Moreover, the Library of Congress is not an agency for purposes of

the Federal Register Act—just as it is not an agency for purposes of the

APA—and, thus, is not required by the Act to publish its regulations or

other orders in the Federal Register. See also Washington Legal Found., 17

F.3d at 1449 (noting the definition of agency in the APA was intended to

have “substantially the same meaning” as in the Federal Register Act).



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Thus, the Library publishes most regulations promulgated by the Librarian

under 2 U.S.C. § 136 internally in the Library of Congress Regulations.

      In addition to the triennial rulemaking at issue here, however, the

Library also occasionally publishes in the Federal Register regulations

promulgated by the Librarian where they are of broad public importance.

Examples of this practice include rules about conduct on the Library

premises, see 36 C.F.R. pt. 702, the Library’s version of FOIA and Touhy

regulations, see id. pt. 703, and regulations under the American Television

and Radio Archives Act, see 2 U.S.C. § 170; 36 C.F.R. pt. 705. Such

publications are done under the Federal Register Act’s catchall provision

for documents authorized to be published by National Archives and

Record Administration regulations. 44 U.S.C. § 1505(b); see 1 C.F.R. § 5.3;

see also 44 U.S.C. § 1501 (defining “document” as limited to materials

produced by agencies “unless the context otherwise requires”). They do

not suggest that the Library is an “agency” under the Federal Register Act

or the APA.

      There are further textual indications that Congress did not regard the

Library of Congress as an “agency.” In 1976, Congress amended U.S.

copyright law to make the Copyright Office—a subsidiary of the Library of
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Congress—subject to the APA. See 17 U.S.C. § 701(e) (“Except as provided

by section 706(b) and the regulations issued thereunder, all actions taken

by the Register of Copyrights under this title are subject to the provisions

of the [APA].”); see also H.R. Rep. No. 94-1476, at 171 (1976), reprinted in

1976 U.S.C.C.A.N. 5659, 5787 (“Under an amendment to section 701

adopted by the Committee, the Copyright Office is made fully subject to

the [APA] . . . .“). If the Library of Congress were already an agency, this

later enacted statutory provision would be superfluous. See Hohn v. United

States, 524 U.S. 236, 249 (1998) (“We are reluctant to adopt a construction

making another statutory provision superfluous.”).

      Plaintiffs’ suggestion that the Library must be an agency because it

was tasked with performing a “rulemaking” is without merit. Plaintiffs

presumably do not mean to suggest that rules about conduct on the

Library’s premises are subject to the APA. To the extent that parts of the

triennial rulemaking at issue here are subject to the APA, that is because

most aspects of the rulemaking are conducted by the Register of

Copyrights, who, as part of the Copyright Office, is subject to the APA. The

Digital Millennium Copyright Act specifies that the Librarian of Congress

makes the final “determination of affected classes of works [subject to an
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exemption] . . . ‘upon the recommendation of the Register of Copyrights.”

H.R. Rep. No. 105-796, at 64 (1998); see also 17 U.S.C. § 1201(a)(1)(C). Thus,

even if Section 553 applies to the Copyright Office’s development of a

recommendation, that recommendation is not final agency action subject to

judicial review because the ultimate decision-maker is an entity not subject

to the APA. See Franklin v. Massachusetts, 505 U.S. 788, 800-01 (1992); Dalton

v. Specter, 511 U.S. 462, 469-70 (1994). And the Library’s action is not subject

to review because the Library is not an “agency” under the APA.

      B.    An Entity May Not Be An Agency Under The APA For
            Some Functions But Not Others.

      As noted, plaintiffs properly do not contend that the Library of

Congress, as a general matter, is an agency under the APA. Their

suggestion that the Library should be considered an “agency” for some

purposes and not others lacks any grounding in the statute’s text or this

Court’s precedents.

      The text of the APA defining an agency does not purport to allow for

an entity to be an agency for some purposes but not for others. The statute

does not provide that an entity shall be considered an agency based on the

function the entity is carrying out but rather on the identity of the entity


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itself. See 5 U.S.C. §§ 551(1), 701(b)(1). Plaintiffs’ assertion that “[t]he APA’s

text is entirely capable of . . . treating [the Library] as an ‘agency’ in some

circumstances but not others,” Br. 22, is thus unaccompanied by any

explanation or citation. The statute’s text defines the term “agency” not on

a case-by-case basis but in terms of an entity’s characteristics. This Court

has decided that the Library is part of “the Congress” for these purposes

and that is the end of the matter.

      This Court has repeatedly rejected plaintiffs’ requested chameleon

approach to defining an agency. See, e.g., Ryan v. Department of Justice, 617

F.2d 781 (D.C. Cir. 1980); Pickus v. U.S. Bd. of Parole, 507 F.2d 1107 (D.C. Cir.

1974). In Ryan, this Court rejected an argument that when the Attorney

General was acting in his capacity “to advise and assist the President,” he

should be exempted from the definition of agency in FOIA (which relies on

the APA definition of “agency.” 617 F.2d at 789; see 5 U.S.C. § 552(f)(1)).

The Court explained that “[a]ny unit or official that is part of an agency

and has non-advisory functions cannot be considered a non-agency in

selected contexts on a case-by-case basis.” Ryan, 617 F.2d at 789. In this

case, plaintiffs impermissibly seek to apply the definition of “agency” “in

selected contexts on a case-by-case basis.” Id.
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      In Pickus, this Court rejected an argument by the U.S. Board of Parole,

an entity housed within the Department of Justice, that it should not be

considered an agency for purposes of APA review because its functions

were like those of the Probation Service, an entity in the judicial branch.

This Court explained that “[t]he exemption of [the Probation Service] is

warranted not by the functions it performs . . ., but by its status as an

auxiliary of the courts, which, unlike agencies of the executive branch, are

specifically excluded.” Pickus, 507 F.2d at 1112. Here, the Congress is

specifically excluded, and the Library is exempted from the definition of

“agency” for that reason regardless of the functions it performs.

      Similarly, in Washington Legal Foundation, this Court applied the

definition on an entity-by-entity basis, noting that “virtually every case

interpreting the APA exemption for ‘the courts of the United States’ has

held that the exemption applies to the entire judicial branch—at least to

entities within the judicial branch that perform functions that would

otherwise be performed by courts.” 17 F.3d at 1449. Having acknowledged

that Congress intended to treat the Library of Congress as an “entit[y]

within the [legislative] branch,” plaintiffs cannot properly argue that it falls

outside the exemption. Id. Other circuits have similarly rejected arguments
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that because an entity performs an administrative or executive function, it

must be subject to APA review for those functions. See, e.g., In re Fidelity

Mortg. Inv’rs, 690 F.2d 35, 38-39 (2d Cir. 1982) (rejecting application of APA

rulemaking requirements “[a]lthough the Conference was performing an

administrative function”), cert. denied sub nom. Lifetime Cmtys., Inc. v.

Administrative Office of U.S. Courts, 462 U.S. 1106 (1983); see also United States

v. Frank, 864 F.2d 992, 1013 (3d Cir. 1988) (“Housing the [U.S. Sentencing]

Commission in the judicial branch, has the effect, as a matter of statutory

interpretation, of exempting it from certain statutes which would otherwise

apply, [including] the [FOIA].”); Wacker v. Bisson, 348 F.2d 602, 608 n.18

(5th Cir. 1965) (explaining that an extradition hearing held by United States

Commissioner, which is “an arm of the District Court” is not “an ‘agency’

for purposes of the APA.”).

      In Partington v. Houck, 723 F.3d 280, 289 (D.C. Cir. 2013), and

McKinney v. White, 291 F.3d 851 (D.C. Cir. 2002), this Court expressly

declined to hold that an entity might be an agency for purposes of the APA

in some circumstances but not others. The district court in McKinney had

done so, but this Court “did not discuss whether the Judge Advocate

General is an agency,” instead concluding that “Congress’s decisions to
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establish a separate judicial system for courts-martial review . . . together

with the exclusion of courts martial from the APA’s definition of ‘agency,’

precluded APA review of the Judge Advocate General’s decision.”

Partington, 723 F.3d at 290.

      The passage from Armstrong v. Bush on which plaintiffs rely provides

that Congress intended to “avoid a formalistic definition of ‘agency’ that

might exclude authority within the executive branch that should

appropriately be subject to the requirements of the APA,” 924 F.2d 282, 289

(D.C. Cir. 1991) (emphasis added). The relevant point here is whether an

entity is treated as part of the Executive Branch for these purposes, which

the Library is not. More generally, Armstrong and other cases involving

whether entities within the Executive Office of the President are excluded

from being agencies because they perform only advisory functions have no

apparent relevance here; the Library of Congress is not excluded from the

definition of “agency” on that basis but rather because it is part of “the

Congress.”




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      C.    The Library’s Status For Constitutional Purposes Has
            No Relevance Here.

      Plaintiffs do not advance their argument by pointing out that the

Library is part of the Executive Branch as a constitutional matter. Nothing

in the APA’s definition of an agency has any bearing on the constitutional

status of the described entities. The Supreme Court has long recognized

that Congress can define the “government” for statutory purposes without

bearing on constitutional ones. See Lebron v. National R.R. Passenger Corp.,

513 U.S. 374, 392 (1995). Similarly, when this Court has recognized that the

Library of Congress is an executive department for constitutional purposes,

it noted that such a determination was permissible even though the Library

“performs a range of different functions, including some, such as the

Congressional Research Service, that are exercised primarily for legislative

purposes.” See Intercollegiate Broad. Sys., Inc. v. Copyright Royalty Bd., 684

F.3d 1332, 1341-42 (D.C. Cir. 2012). The relevant point is that the

constitutional designation of the Library within the Executive Branch is

independent of the statutory question.

      The Fourth Circuit likewise concluded that, for purposes of

constitutional analysis, it was “irrelevant that the Office of the Librarian of


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Congress is codified under the legislative branch or that it receives its

appropriation as a part of the legislative appropriation.” Eltra Corp. v.

Ringer, 579 F.2d 294, 301 (4th Cir. 1978). By contrast, when considering the

APA’s statutory definition of an agency, which specifically excludes “the

Congress,” how the Library of Congress is treated as a statutory matter is

particularly relevant. See, e.g., Pub. L. No. 117-328, at 456, 471-74 (funding

the Library as part of the legislative branch); see also 5 U.S.C. §§ 101, 105

(defining “executive department” and “executive agency” respectively,

without reference to the Library of Congress).

      Plaintiffs cannot plausibly suggest that the APA or the Constitution

somehow limits the exercise of executive power only to those entities

defined as an agency by the APA. It is well-settled law that the President is

not an agency for purposes of the APA, see Franklin, 505 U.S. at 800-01;

Dalton, 511 U.S. at 469-70, and there can be no dispute that the President

engages in executive action. Moreover, if it wanted to, Congress could

easily exempt an agency like the Department of State or Education from

APA review, and it has exempted numerous actions of various executive

agencies from APA review through express preclusion-of-review statutes

or by committing certain decisions to agency discretion by law. See, e.g.,
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Florida Health Scis. Ctr., Inc. v. Secretary of Health & Human Servs., 830 F.3d

515, 518 (D.C. Cir. 2016) (finding Medicare statute bars judicial review).

These cases dispose of plaintiffs’ suggestion that because the Librarian

exercises constitutional executive power or engages in activities thought of

as executive, Congress may not treat it as part of the Congress, and thus

exempt from APA review for statutory purposes. If Congress had merely

stated that decisions of the Librarian were exempt from judicial review,

there would be no conceivable separation-of-powers objection, and the

analysis does not change because Congress achieved the same result by

exempting the Library from the APA.

      As a result, there is no basis for this Court to apply the canon of

constitutional avoidance. The canon of constitutional avoidance comes into

play when “a statute is susceptible [to] two constructions, by one of which

grave and doubtful constitutional questions arise and by the other of which

such questions are avoided.” Jones v. United States, 526 U.S. 227, 239 (1999)

(quoting United States ex rel. Attorney Gen. v. Delaware & Hudson Co., 213

U.S. 366, 408 (1909)). Here, even apart from the fact that plaintiffs’

construction of the statute is untenable, there is no constitutional difficulty

with concluding that the APA exempts the Librarian’s triennial rulemaking
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from judicial review. To conclude otherwise would require this Court to

assume the extraordinary principle that the exercise of executive power

constitutionally requires APA review. As noted above, it is well-settled that

some entities, including the President and close presidential advisors,

exercise executive power without being subject to the APA. The same

principle applies to the Librarian.

      For similar reasons, plaintiffs’ invocation of the presumption in favor

of judicial review does not advance their arguments. As an initial matter,

the presumption of judicial review is not a presumption that the APA

applies nor can it provide a statutory waiver of sovereign immunity, under

the APA or any other statute, where one does not exist. Moreover, the

presumption only applies when “a statutory provision is reasonably

susceptible to divergent interpretation.” Make the Road N.Y. v. Wolf, 962

F.3d 612, 624 (D.C. Cir. 2020) (quotation marks omitted); see also Br. 31

(acknowledging that presumption does not apply when there is “‘clear and

convincing evidence’ of congressional intent to preclude judicial review”

(quoting Guerrero-Lasprilla v. Barr, 140 S. Ct. 1062, 1069 (2020))). For all the

reasons already explained, the APA provides a clear expression of

Congress’s intent to exclude certain entities from its scope, including the
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provisions that allow for judicial review. The APA’s definition of “the

Congress” as including the Library of Congress is not “reasonably

susceptible” to a different interpretation. Make the Road, 962 F.3d at 624

(quotation marks omitted).

   II.      The District Court Correctly Concluded That The
            Librarian’s Actions Were Not Ultra Vires.

         The district court correctly rejected plaintiffs’ effort to revive their

APA claim by recharacterizing it as an argument that the Librarian’s

actions were ultra vires. Ultra vires review is “intended to be of extremely

limited scope, and it represents a more difficult course than would review

under the [APA].” North Am. Butterfly Ass’n v. Wolf, 977 F.3d 1244, 1262

(D.C. Cir. 2020) (quotation marks omitted); see also Nyunt v. Chairman,

Broad. Bd. of Governors, 589 F.3d 445, 449 (D.C. Cir. 2009) (describing ultra

vires review as “essentially a Hail Mary pass—and in court as in football,

the attempt rarely succeeds”). As the district court recognized, plaintiffs

cannot come close to making the required showing that “the Librarian

‘plainly act[ed]’ outside the scope of her delegated powers in promulgating

the Exemption.” JA060-61 (alteration in original); see DCH Reg’l Med. Ctr. v.

Azar, 925 F.3d 503, 509 (D.C. Cir. 2019).


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      Plaintiffs contend (Br. 43-47) that the Librarian acted outside of

statutory bounds because she authorized an exemption to the anti-

circumvention provision for an activity that does not constitute a fair use of

copyrighted material. But, as the district court recognized, this argument

“merely restate[s] [plaintiffs’ APA claim] that the Librarian erred in her fair

use analysis, which, even if true, would amount to nothing more than a

textbook error in statutory interpretation.” JA061. There is no question that

the statute in question here authorizes the Librarian to engage in

rulemaking to grant exemptions to the anti-circumvention provision nor is

there any dispute that the exemption, by statute, should rest on a

determination that the activity covered by the proposed exemption would

likely constitute a non-infringing use of the copyrighted material. Thus, the

Librarian’s determination that diagnosis, maintenance, and repair of

complex, computer-controlled medical equipment would likely constitute a

fair use of copyrighted material, even if it were erroneous, would not

satisfy this Court’s standard for an ultra vires claim.

      The fatal flaw in plaintiffs’ argument is underscored by the fact that

the fair-use analysis is by definition a “highly fact-specific determination

involving consideration of four different factors.” JA061; see also Andy
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Warhol Found. for the Visual Arts, Inc. v. Goldsmith, 143 S. Ct. 1258, 1274

(2023) (“[F]air use is a ‘flexible’ concept, and ‘its application may well vary

depending on context.’” (quoting Google LLC v. Oracle Am., Inc., 141 S. Ct.

1183, 1197 (2021))); Princeton Univ. Press v. Michigan Document Servs., Inc.,

99 F.3d 1381, 1390 (6th Cir. 1996) (“The statutory factors are not models of

clarity, and the fair use issue has long been a particularly troublesome

one.”). It is impossible to see how, even if the Librarian’s fair use analysis

was incorrect, she “patently . . . misconstru[ed] . . . the statute, . . .

disregard[ed] a specific and unambiguous statutory directive, or . . .

violate[d] some specific command” of the Digital Millennium Copyright

Act. JA060-61 (alteration omitted) (quoting Federal Express Corp. v. U.S.

Dep’t of Commerce, 39 F.4th 756, 764 (D.C. Cir. 2022)). This is particularly

true given that the Librarian’s determination was based on a

recommendation of the Register of Copyrights, who analyzed each of the

four factors based on the relevant case law and facts presented in the

record. At most, as the district court recognized, the “Librarian and

plaintiffs just have differing views on the outcome of a fair use analysis

here.” JA061.



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      Plaintiffs, in any event, are wrong to suggest the Librarian’s fair use

analysis was erroneous at all. Plaintiffs’ primary objections are that the uses

in question—diagnosis, repair, and maintenance of medical equipment—

are commercial in nature and insufficiently transformative of the

copyrighted material to constitute fair use. See Br. 44-47. As to the former

argument, as the Supreme Court recently observed, “many common fair

uses are indisputably commercial.” Google, 141 S. Ct. at 1204. Indeed, in

Google, the Supreme Court concluded that Google’s copying of tens of

thousands of lines of code from a previous program was fair use

notwithstanding the fact that Google used that code in its Android

platform, which it sold to millions of users. See id. at 1191, 1193-94.

      As to the latter argument, the Register properly concluded that using

the copyrighted materials for the purposes of diagnosis, maintenance, and

repair of medical equipment was likely transformative. See Andy Warhol

Found., 143 S. Ct. at 1275 (defining transformative as having “a further

purpose or different character” from the original). The purpose of the

software itself is to operate advanced medical equipment, while the

purpose of the uses permitted by the exemption is to restore such

equipment’s functionality. Moreover, the exemption applies only to these
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limited uses: diagnosis, maintenance, and repair of medical equipment.

Circumvention for other uses of copyrighted material would still be subject

to liability under the anti-circumvention provision of Section 1201.

      Finally, the record does not support plaintiffs’ contention that the

Librarian’s fair use analysis was pretextual. See Br. 48-51. By statute, the

Librarian has “discretion to consider additional factors she deems

appropriate” when evaluating whether noninfringing uses are being

“adversely affected” by the anti-circumvention provision. JA172; see also 17

U.S.C. § 1201(a)(1)(C)(v). The analysis of whether a particular use is likely

fair use is separate from and a precondition to reach the analysis of

whether the use is “adversely affected.” Compare JA153–157 (fair use

analysis), with JA169–174 (adverse effects analysis). Here, after having

already determined that diagnosis, maintenance, and repair were likely to

be fair uses, the Register noted in her analysis of adverse effects that “an

exemption to facilitate repair of medical devices and systems could help

address . . . broader competitive concerns” in the market for device service

and repair and thus, the “public interest in deterring anticompetitive

behavior” supports a conclusion that the anti-circumvention prohibition

was “adversely affecting the repair of [medical] devices and systems.”
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JA172-73. Plaintiffs are wrong to suggest that consideration of this factor

when analyzing whether noninfringing uses were being adversely affected

undermines the Librarian’s fair use analysis or is beyond the Librarian’s

statutory authority, particularly as the Librarian and Register have

consistently found that diagnosis, maintenance, and repair to restore

device functionality are likely to be fair uses of copyrighted device

software and manuals. See JA099-100, 145-149, 153 (consumer devices;

marine vessels); JA096, 129-34 (motorized land vehicles; smartphones;

home appliances and home systems); JA123-26 (vehicles, including

agricultural machinery).




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                              CONCLUSION

      For the foregoing reasons, the judgment of the district court should

be affirmed.

                                          Respectfully submitted,

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July 2023




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                     CERTIFICATE OF COMPLIANCE

      This brief complies with the type-volume limit of Federal Rule of

Appellate Procedure 32(a)(7)(B) because it contains 6,900 words. This brief

also complies with the typeface and type-style requirements of Federal

Rule of Appellate Procedure 32(a)(5)-(6) because it was prepared using

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                                           /s/ Laura E. Myron
                                          LAURA E. MYRON
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                        CERTIFICATE OF SERVICE

      I hereby certify that on July 21, 2023, I electronically filed the

foregoing brief with the Clerk of the Court for the United States Court of

Appeals for the District of Columbia Circuit by using the appellate

CM/ECF system. Service will be accomplished by the appellate CM/ECF

system.


                                             /s/ Laura E. Myron
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                          ADDENDUM
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5 U.S.C. § 551. Definitions
For the purpose of this subchapter—

(1)“agency” means each authority of the Government of the United States,
whether or not it is within or subject to review by another agency, but does
not include—
      (A) the Congress;

       (B) the courts of the United States;
....

5 U.S.C. § 701. Application; Definitions
....
(b) For the purpose of this chapter—
        (1) “agency” means each authority of the Government of the United
    States, whether or not it is within or subject to review by another agency,
    but does not include—
        (A) the Congress;
        (B) the courts of the United States;
....


17 U.S.C. § 701. The Copyright Office: General Responsibilities and
Organization
....
(e) Except as provided by section 706(b) and the regulations issued
thereunder, all actions taken by the Register of Copyrights under this title
are subject to the provisions of the Administrative Procedure Act of June 11,
1946, as amended (c. 324, 60 Stat. 237, title 5, United States Code, Chapter 5,
Subchapter II and Chapter 7).
....



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17 U.S.C. § 1201. Circumvention of Copyright Protection Systems
(a) Violations Regarding Circumvention of Technological Measures.—
(1)
      (A) No person shall circumvent a technological measure that effectively
      controls access to a work protected under this title. The prohibition
      contained in the preceding sentence shall take effect at the end of the 2-
      year period beginning on the date of the enactment of this chapter.
      (B) The prohibition contained in subparagraph (A) shall not apply to
      persons who are users of a copyrighted work which is in a particular
      class of works, if such persons are, or are likely to be in the succeeding 3-
      year period, adversely affected by virtue of such prohibition in their
      ability to make noninfringing uses of that particular class of works under
      this title, as determined under subparagraph (C).
      (C) During the 2-year period described in subparagraph (A), and during
      each succeeding 3-year period, the Librarian of Congress, upon the
      recommendation of the Register of Copyrights, who shall consult with
      the Assistant Secretary for Communications and Information of the
      Department of Commerce and report and comment on his or her views
      in making such recommendation, shall make the determination in a
      rulemaking proceeding for purposes of subparagraph (B) of whether
      persons who are users of a copyrighted work are, or are likely to be in
      the succeeding 3-year period, adversely affected by the prohibition
      under subparagraph (A) in their ability to make noninfringing uses
      under this title of a particular class of copyrighted works. In conducting
      such rulemaking, the Librarian shall examine—
         (i) the availability for use of copyrighted works;
         (ii) the availability for use of works for nonprofit archival,
         preservation, and educational purposes;
         (iii) the impact that the prohibition on the circumvention of
         technological measures applied to copyrighted works has on
         criticism, comment, news reporting, teaching, scholarship, or
         research;

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       (iv) the effect of circumvention of technological measures on the
       market for or value of copyrighted works; and
       (v) such other factors as the Librarian considers appropriate.
....




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